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                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 State of Florida, et al.,

        Plaintiffs,

        v.                                      Case No. 8:22-cv-01981-TPB-JSS

 Food and Drug Administration, et al.,

        Defendants.

                             Status Report for the APA Claim

    On October 31, 2023, the Court granted Defendants’ Unopposed Motion to

Extend the Stay of Counts One and Four until December 19, 2023, to allow the

U.S. Food and Drug Administration (“FDA”) time to review Florida’s amended

SIP proposal, which the agency received from Florida on October 20, 2023. See

ECF Nos. 104; 105. In doing so, the Court also ordered the parties to submit a

status report by December 19, 2023, “to apprise the Court of the status of the

updated SIP proposal.” ECF No. 105. The parties submit this status report

pursuant to that order.

    FDA has continued its review of Florida’s SIP proposal, following a similar

process as it did in reviewing Florida’s previous amendments. See Verbois Decl.,

ECF No. 78-1, ¶¶ 10-11. FDA is nearing completion of its review and will issue its
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written decision on Florida’s amended SIP proposal on or before January 5, 2024.



 December 14, 2023                         Respectfully submitted,

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